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                                  UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS



   Paula Taylor
    Plaintiff
                                                             CIVIL ACTION
               V.
                                                             NO. 1:17-cv-11356-PBS
 Sequim Asset Solutions, et.al.
      Defendants


                          SETTLEMENT ORDER OF DISMISSAL


SARIS, C J


        The Court having been advised by counsel on 1/25/2018 for the parties that the above
action has been settled:


       IT IS ORDERED that this action is hereby dismissed without prejudice to reconsideration

and possible re-opening if within 60 days of this order a motion is filed which represents that the

terms of the settlement agreement have not been performed and there is good cause for the non-

performing party or parties to have failed to perform.



                                                     By the Court,

                                                     /s/ C. Geraldino-Karasek

1/26/2018                                            Deputy Clerk

Date
